                         UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

USA                                                §
                                                   §
vs.                                                §      No: EP:12-CR-00849(2)-KC
                                                   §
(2) Ismael Zambada Garcia                          §
                                STANDING DISCOVERY ORDER


        On this day the Court considered the above-captioned cause. In an effort to efficiently manage
the Court’s busy docket, and in order to expedite discovery and readiness for trial within the meaning
of the Speedy Trial Act, 18 U.S.C. §§ 3161, et seq., the following orders are hereby ENTERED:

I.     DISCOVERY PRODUCTION

    IT IS HEREBY ORDERED that the parties herein confer and accomplish the following
WITHIN FOURTEEN DAYS FROM ARRAIGNMENT/WAIVER OF ARRAIGNMENT.

A.     Upon the request of the defendant, the Government shall permit the defendant to inspect and
copy the following items or copies thereof, or supply copies thereof which are within the possession,
custody or control of the Government, the existence of which is known, or by the exercise of diligence
could become known to the Government:

       1.      Any written or recorded statements made by the defendant.

         2.     The substance of any oral statement made by the defendant before or after his or her
arrest in response to interrogation by a person then known to be a Government agent which the
Government intends use at trial.

       3.      The defendant’s criminal record.

       4.       Books, papers, documents, photographs, tangible objects, buildings or places which are
material to the defense, which the Government intends to use as evidence at trial in its case-in-chief, or
which were obtained from or belong to the defendant.

       5.    Results or reports of physical or mental examination and of scientific tests or
experiments made in connection with this case, which are material to the case or which the
Government intends to use in its case-in-chief at trial.

       6.      A written summary of any testimony that the government intends to use under Rules
702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief at trial.

B.     If the defendant has requested disclosure from the Government, the defendant shall permit the
Government to inspect and copy the following items or copies thereof, or supply copies thereof which
are within the defendant’s possession, custody or control:

        1.     Books, papers, documents, photographs, or tangible objects which the defendant intends
to use as evidence in his or her case-in-chief at trial.

         2.     Results or reports of physical or mental examinations, and of scientific tests or
experiments, made in connection with this case which the defendant intends to use as evidence-in-chief
at trial or which were prepared by a defense witness who will testify concerning the contents thereof.

        3.       If the defendant has requested disclosure from the government of the government’s
summary of its expert witnesses testimony, the defendant shall provide a written summary of any
testimony under Rules 702, 703, or 705, of the Federal Rules of Evidence which the defendant intends
to use at trial.

C.      If the defendant intends to rely upon the defense of insanity at the time of the alleged crime or
intends to introduce expert testimony relating to a mental disease, defect or other condition bearing on
the issue of whether he or she had the mental state required for the offense charged, he or she shall give
written notice to the Government. Further, the defendant must provide the Government with a written
summary of any testimony that the defendant intends to use under Rules 702, 703, or 705 of the
Federal Rules of Evidence for this purpose.

II.    PRODUCTION OF BRADY, GIGLIO, NAPUE, AND WIRETAP MATERIALS

       IT IS FURTHER ORDERED that the parties herein confer and accomplish the following at
the same time as above:

A.              The Government shall reveal to the defendant and permit inspection and copying of all
information and material known to the Government which may be favorable to the defendant on the
issues of guilt or punishment within the scope of Brady v. Maryland, 373 U.S. 83 (1963), or which
tends to impeach Government witnesses.

B.             The Government shall state whether the defendant was the subject of any electronic
surveillance and if so, shall furnish to the defendant for inspection and copying any recordings or
videotapes which may be offered into evidence at trial.

C.             The Government shall disclose to the defendant the existence and substance of any
payments, promises of immunity, leniency, or preferential treatment, made to prospective Government
witnesses, within the scope of United States v. Giglio, 405 U.S. 150 (1972) and Napue v. Illinois, 360
U.S. 264 (1959).

III.   PRODUCTION OF ELECTRONIC DISCOVERY

A.     All discovery provided by the Government in electronic format (“Electronic Discovery”) shall
comply with the February 15, 2012, Memorandum from the Administrative Office of the United States
Courts entitled “Recommendations for the Production of Electronic Discovery in Federal Criminal
Cases.” Specifically,:

       1.      The Government shall provide Electronic Discovery to the defendant in industry-
standard format; however, the Government is not required to undertake additional processing of
information, such as the creation of “load” files to load files into a particular software.

      2.    The Electronic Discovery shall be in a format that is readily searched, sorted, and
managed, whenever possible.

       3.     The Government shall include a Table of Contents describing the general categories of
information available as Electronic Discovery.

        4.      The Government shall employ file naming conventions to facilitate the review and
management of Electronic Discovery. For example, in cases involving Title III wiretaps, it is
preferable that the naming conventions for the audio files, the monitoring logs, and the call transcripts
be consistent to allow for easy cross-reference among the audio calls, the monitoring logs, and
transcripts.

        5.      The Government shall provide Electronic Discovery on electronic media of sufficient
size to hold the entire production whenever possible. The media should be clearly labeled with the
case name and number, the producing party, a unique identifier for the media, and a production date.

        6.      A cover letter should accompany each transmission of Electronic Discovery providing
basic information including the number of media provided, the unique identifiers of the media, a brief
description of the contents including the table of contents, any applicable bates ranges or other unique
production identifiers. Any passwords necessary to access the content should be provided in separate
correspondence. The Government should retain a write-protected copy of all transmitted electronic
discovery as a preserved record to resolve any subsequent disputes.

       7.      These requirements do not apply to electronic discovery that is itself contraband.

        8.      These requirements do not alter the parties’ discovery obligations or protections under
the United States Constitution, the Federal Rules of Criminal Procedure, the Jencks Act, or other
federal statutes, case law, or local rules.

       9.      These rules regarding the production of Electronic Discovery shall apply to the
defendant’s production to the government, only if determined to be necessary by the Court.

IV.    OTHER DISCOVERY MATTERS

        IT IS FURTHER ORDERED that it shall be the continuing duty of counsel for both sides to
reveal to opposing counsel all newly discovered information or other material within the scope of this
Standing Order.

       The Court may at any time, upon motion properly filed or on its own motion, order that the
discovery or inspection provided for by this Standing Order be denied, restricted or deferred, or make
such other order as is appropriate. The Court expects, however, that counsel for both sides shall make
every good faith effort to comply with the letter and the spirit of this Standing Order.

       All motions concerning matters not covered by this Standing Order must be filed within
fourteen days of arraignment or waiver of arraignment.

        Counsel shall immediately notify the Court in writing of the reasons for failure to comply with
this Standing Order at such point in time as the failure occurs.

FAILURE TO COMPLY WITH ALL THE TERMS OF THIS ORDER MAY RESULT IN
THOSE MATERIALS NOT DISCLOSED AS SET FORTH ABOVE BEING PRESUMED
INADMISSIBLE. FAILURE TO COMPLY MAY ALSO RESULT IN DISMISSAL OF THE
CASE.

     IT IS FINALLY ORDERED THAT ON OR BEFORE THE PLEA DEADLINE DATE,
DEFENSE ATTORNEYS NOTIFY THE COURT’S DEPUTY CLERK OF THE
DEFENDANT’S INTENTION TO PLEAD GUILTY. AT THAT TIME, DEFENSE
ATTORNEYS MUST ALSO SCHEDULE A SETTING FOR A PLEA HEARING EITHER
BEFORE THIS COURT OR A MAGISTRATE COURT. DEFENDANTS WHO FAIL TO
COMPLY WITH THE PLEA DEADLINE DATE WILL NOT RECEIVE ADJUSTMENTS TO
THEIR SENTENCING GUIDELINES BASED ON SUPER ACCEPTANCE OF
RESPONSIBILITY. MOREOVER, THE COURT WILL NOT RECOGNIZE ANY PLEA
AGREEMENTS INTO WHICH THE PARTIES ENTER AFTER THE THURSDAY
DEADLINE. INSTEAD, DEFENDANTS WILL BE REQUIRED TO PLEAD GUILTY TO
ALL COUNTS OF THE INDICTMENT.

Nothing in this Order shall be construed so as to conflict with the United States Constitution, the
Federal Rules of Criminal Procedure, the Local Rules of the Western District of Texas, or any
applicable statutory or case law. To the extent any conflict does arise, such other law shall
control.

       Signed this 26th day of July, 2024.




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                                                    KATHLEEN CARDONE
                                                    UNITED STATES DISTRICT JUDGE
